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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          CV 19-4064 PA (AFMx)                                          Date    May 10, 2019
 Title             Kevin Nee, et al. v. Lina Maria Serrano, et al.



 Present: The Honorable          PERCY ANDERSON, UNITED STATES DISTRICT JUDGE
         Kamilla Sali-Suleyman                              Not Reported                         N/A
                 Deputy Clerk                              Court Reporter                      Tape No.
                Attorneys Present for Plaintiffs:                    Attorneys Present for Defendants:
                             None                                                 None
 Proceedings:                 IN CHAMBERS - COURT ORDER

        The Court is in receipt of a Notice of Removal filed by defendant Marco Paez (“Removing
Defendant”) on May 9, 2019. (Docket No. 1.) Removing Defendant is seeking to remove an unlawful
detainer action brought in Los Angeles County Superior Court by plaintiffs Kevin and Lora Nee
(“Plaintiffs”) against Removing Defendant as well as Lina Maria Serrano, Jose Carlos Serrano, Isabel
Ripalda, Maria Campozano, and Alfredo F. Paez. (Id. at 1-2, 6, 8.) Removing Defendant, who is
appearing pro se, asserts that this Court has subject matter jurisdiction on the basis of 28 U.S.C. § 1443,
which creates federal removal jurisdiction for actions brought against people who cannot enforce in state
court “any law providing for the equal rights of citizens of the Untied States.” 28 U.S.C. § 1443(1).
Removing Defendant also invokes the Court’s diversity jurisdiction, 28 U.S.C. § 1332.

        Federal courts are of limited jurisdiction, having subject matter jurisdiction only over matters
authorized by the Constitution and Congress. See, e.g., Kokkonen v. Guardian Life Ins. Co., 511 U.S.
375, 377, 114 S. Ct. 1673, 1675, 128 L. Ed. 2d 391 (1994). A “strong presumption” against removal
jurisdiction exists. Gaus v. Miles, Inc., 980 F.2d 564, 567 (9th Cir. 1992). In seeking removal, the
defendant bears the burden of proving that jurisdiction exists. Scott v. Breeland, 792 F.2d 925, 927 (9th
Cir. 1986).

         A defendant “who is denied or cannot enforce” his or her civil rights in state court may remove a
civil action or criminal prosecution to federal court. 28 U.S.C. § 1443. Section 1443(1) was enacted “to
remove from state courts groundless charges not supported by sufficient evidence when these charges are
based on race and deny one his federally protected equal rights as guaranteed by Title II of the 1964
Civil Rights Act.” Walker v. Georgia, 417 F.2d 5, 9 (5th Cir. 1969). Section 1443 provides, in pertinent
part, that a “civil action[] . . . commenced in a State court may be removed by the defendant to the
district court of the United States for the district and division embracing the place wherein it is
pending . . . [if it is] [a]gainst any person who is denied or cannot enforce in the courts of such State a
right under any law providing for the equal civil rights of citizens of the United States, or of all persons
within the jurisdiction thereof.” 28 U.S.C. § 1443(1).



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                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

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                 A petition for removal under § 1443(1) must satisfy the two-part test
                 articulated by the Supreme Court in Georgia v. Rachel, 384 U.S. 780,
                 788-92, 794-804, 86 S. Ct. 1783, 16 L. Ed. 2d 925 (1966) and City of
                 Greenwood, Miss. v. Peacock, 384 U.S. 808, 824-28, 86 S. Ct. 1800, 16 L.
                 Ed. 2d 944 (1966). “First, the petitioners must assert, as a defense to the
                 prosecution, rights that are given to them by explicit statutory enactment
                 protecting equal racial civil rights.” California v. Sandoval, 434 F.2d 635,
                 636 (9th Cir. 1970). “Second, petitioners must assert that the state courts
                 will not enforce that right, and that allegation must be supported by
                 reference to a state statute or a constitutional provision that purports to
                 command the state courts to ignore the federal rights.” Id.

Patel v. Del Taco, Inc., 446 F.3d 996, 998-99 (9th Cir. 2006).

        Removing Defendant does not allege any well-pleaded facts that would support removal under
§ 1443, and therefore Removing Defendant meets neither part of the Supreme Court’s test in Georgia v.
Rachel. Removing Defendant alleges in conclusory fashion that his rights are being violated by
unspecified California laws, policies, and practices, and he also refers to alleged improprieties in a
previous unlawful detainer action brought against him in 2014. (Notice of Removal at 1-2, 8-10.) There
is no allegation or any other indication that Removing Defendant has properly sought to invoke a law
that provides “for the equal civil rights of citizens of the United States,” or that he is unable to pursue
such a claim because the state court is unable or unwilling to enforce such a claim. Nothing in
Removing Defendant’s Notice of Removal satisfies his burden to show that any potential deficiencies in
California’s unlawful detainer procedures “command[s] the state courts to ignore” Removing
Defendant’s federal rights. See Patel, 446 F.3d at 998-99. The Notice of Removal’s allegations are
therefore insufficient to establish the Court’s jurisdiction under 28 U.S.C. § 1443.

        Removing Defendant also fails to establish that diversity jurisdiction exists over this action. In
attempting to invoke this Court’s diversity jurisdiction, Removing Defendant must prove that there is
complete diversity of citizenship between the parties and that the amount in controversy exceeds
$75,000. 28 U.S.C. § 1332. To establish citizenship for diversity purposes, a natural person must be a
citizen of the United States and be domiciled in a particular state. Kantor v. Wellesley Galleries, Ltd.,
704 F.2d 1088, 1090 (9th Cir. 1983). Persons are domiciled in the places they reside with the intent to
remain or to which they intend to return. See Kanter v. Warner-Lambert Co., 265 F.3d 853, 857 (9th
Cir. 2001).

        Removing Defendant alleges that diversity of citizenship exists because he and the other
defendants are domiciled in California and Plaintiffs are residents of New York. (Notice of Removal at
2-3.) Because an individual is not necessarily domiciled where he or she resides, Removing Defendant’s
allegations are insufficient to establish Plaintiffs’ citizenship. “Absent unusual circumstances, a party

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                                UNITED STATES DISTRICT COURT
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seeking to invoke diversity jurisdiction should be able to allege affirmatively the actual citizenship of the
relevant parties.” Kanter, 265 F.3d at 857; Bradford v. Mitchell Bros. Truck Lines, 217 F. Supp. 525,
527 (N.D. Cal. 1963) (“A petition [for removal] alleging diversity of citizenship upon information and
belief is insufficient.”). Removing Defendant’s allegations here are insufficient to invoke this Court’s
diversity jurisdiction.

        Moreover, Removing Defendant fails to establish that the amount-in-controversy requirement is
satisfied. Removing Defendant alleges without further explanation that the amount in controversy
exceeds $75,000, and elsewhere Removing Defendant refers to the value of the property at issue in the
underlying action. (Notice of Removal at 2, 5, 8.) However, in unlawful detainer actions, the title to the
property is not involved; only the right to possession is implicated. Evans v. Super. Ct., 67 Cal. App. 3d
162, 170 (1977). Thus, the amount in controversy is determined by the amount of damages sought in the
Complaint, rather than by the value of the subject real property. Id. Here, Plaintiffs filed a Limited Civil
Case in which the amount demanded does not exceed $10,000.1/ Given that the value of the subject real
property is not in controversy, Removing Defendant has failed to show that this action meets the
minimum jurisdictional requirement. For this additional reason, Removing Defendant has not
established that the Court has diversity jurisdiction over this action.

        The Court also notes that Removing Defendant’s Notice of Removal is procedurally defective in
two respects. First, a “notice of removal of a civil action or proceeding shall be filed within 30 days
after the receipt by the defendant, through service or otherwise, of a copy of the initial pleading setting
forth the claim for relief upon which such action or proceeding is based.” 28 U.S.C. § 1446(b)(1). Here,
Removing Defendant alleges that he was served in this action on September 19, 2018, well over 30 days
ago. (See Notice of Removal at 6.) Second, Defendant is a California citizen (Notice of Removal at
2-3), but a local defendant cannot remove a case to federal court based on diversity jurisdiction. 28
U.S.C. § 1441(b)(2); see Lively v. Wild Oats Mkts., Inc., 456 F.3d 933, 939-40 (9th Cir. 2006) (noting
that “[r]emoval based on diversity jurisdiction is intended to protect out-of-state defendants from
possible prejudices in state court”).

       For the foregoing reasons, Removing Defendant has failed to meet his burden of showing that
removal pursuant to 28 U.S.C. § 1443 is available, or that diversity jurisdiction exists or may properly be
invoked. Because the Court lacks subject matter jurisdiction, this action is hereby remanded to the
Los Angeles County Superior Court, Case No. 18CHUD01658. See 28 U.S.C. § 1447(c).

             IT IS SO ORDERED.



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       Removing Defendant did not attach a copy of the complaint to his Notice of Removal, but the
Court may take judicial notice of the state-court records in this action. See Reyn’s Pasta Bella, LLC v.
Visa USA, Inc., 442 F.3d 741, 746 n.6 (9th Cir. 2006).
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